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               Case 2:21-cv-04672-GEKP Document 1 Filed 10/25/21 Page 2 of 14
                           IN THE UNITED STATES DISTRICT COURT FOR
                            THE EASTERN DISTRICT OF PENNSYLVANIA
                        CASE MANAGEMENT TRACK DESIGNATION FORM
                                                     :                          CIVIL ACTION
                      Cartier Price                  :
                        v.                           :
WM Henderson Plumbing, Heating & Cooling, Inc., et al:
                                                     :                          NO.
   In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
   plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
   filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
   side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
   designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
   the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
   to which that defendant believes the case should be assigned.

   SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
   (a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                             ( )

   (b) Social Security – Cases requesting review of a decision of the Secretary of Health
       and Human Services denying plaintiff Social Security Benefits.                                  ( )
   (c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

   (d) Asbestos – Cases involving claims for personal injury or property damage from
       exposure to asbestos.                                                                           ( )
   (e) Special Management – Cases that do not fall into tracks (a) through (d) that are
       commonly referred to as complex and that need special or intense management by
       the court. (See reverse side of this form for a detailed explanation of special
       management cases.)                                                                              ( )
   (f) Standard Management – Cases that do not fall into any one of the other tracks.                  (X )


       10/25/2021                      Graham F. Baird                     Cartier Price
   Date                               Attorney-at-law                       Attorney for
       267-546-0131                    215-944-6124                        GrahamB@ericshore.com

   Telephone                           FAX Number                           E-Mail Address


   (Civ. 660) 10/02
                          Case 2:21-cv-04672-GEKP Document 1 Filed 10/25/21 Page 3 of 14
                                                             UNITED STATES DISTRICT COURT
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                            DESIGNATION            FORI"l
                     (to be used by counselor pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff:             1872 Nolan Street, Philadelphia, PA 19138                                                                                                       _

AddressofDerendant                  500 A Abbott Drive, Broomall, PA 19008                                                                                                        __

                                                         500 A Abbott Drive, Broomall, PA 19008


RELATED CASE, IF ANY:
Case Number:                                                 _    Judge:                                                   _    Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

1.    Is this case related to property included in an earlier numbered suit pending or within one year
      previously terminated action in this court?                                                                                   -r                  NoDX


2.    Does this case involve the same issue of fact or grow out of the same transaction as a prior suit
      pending or within one year previously terminated action in this court?                                                        -r:                 NoDX


3.    Does this case involve the validity or infringement ofa patent already in suit or any earlier
      numbered case pending or within one year previously terminated action of this court?                                          -r                  NoDX


4.    Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights
      case filed by the same individual?                                                                                            -r:                 NoDX


I certify that, to my knowledge, the within case            0 is / 0
                                                                   x is not       related to any case now pending or within one year previously terminated action in
this court except as noted above.

DATE:                                                   __                                                                           92692
             10/25/2021
                                                                           Attorney-at-Law / Pro Se Plaintiff                               Attorney J.D. # (if applicable)


CIVIL: (Place a .,j in one category only)

A.           Federal Question Cases:                                                          B.    Diversity Jurisdiction Cases:

o      1.    Indemnity Contract, Marine Contract, and All Other Contracts                     o     1.    Insurance Contract and Other Contracts
o      2.    FELA                                                                             o     2.    Airplane Personal Injury
o      3.    Jones Act-Personal Injury                                                        o     3.    Assault, Defamation
o      4.    Antitrust                                                                        o     4.    Marine Personal Injury
o      5.    Patent                                                                           o     5.    Motor Vehicle Personal Injury
o      6.    Labor-Management Relations                                                       o     6.    Other Personal Injury (Please specify):                             _
o
X      7.    Civil Rights                                                                     o     7.    Products Liability
o      8.    Habeas Corpus                                                                    o     8.    Products Liability - Asbestos
o      9.    Securities Act(s) Cases                                                          o     9.    All other Diversity Cases
o      10.   Social Security Review Cases                                                                   (Please specify):                                                     _
o      11.   All other Federal Question Cases
              (Please specify):                                                       _




                                                                             ARBITRATION CERTIFICATION
                                                   (The effect of this certification is to remove the case from eligibility for arbitration.)

I,      Graham F. Baird                                      , counsel of record or pro se plaintiff, do hereby certify:



     D
     X        Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of$150,000.00 exclusive of interest and costs:


     D        Relief other than monetary damages is sought.


DATE:          10/25/2021                              __                                                                                 92692
                                                                           Attorney-at-Law / Pro Se Plaintiff                              Attorney J.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

ct« 609 (512018)
        Case 2:21-cv-04672-GEKP Document 1 Filed 10/25/21 Page 4 of 14




                           UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
______________________________________________________________________________
                                      :
CARTIER PRICE                         :
1872 Nolan Street                     :          JURY DEMANDED
Philadelphia, PA 19138                :
                                      :
               Plaintiff,             :
                                      :
               v.                     :
                                      :          No.
WM HENDERSON PLUMBING,                :
HEATING & COOLING, INC.               :
500 A Abbott Drive                    :
Broomall, PA 19008                    :
                                      :
And                                   :
                                      :
HORIZON SERVICES, LLC                 :
900 Adams Avenue                      :
Audubon, PA 19403                     :
                                      :
               Defendants.            :
____________________________________:_________________________________________

                               CIVIL ACTION COMPLAINT

I. Parties and Reasons for Jurisdiction.

       1.      Plaintiff, CARTIER PRICE (hereinafter “Plaintiff”) is an adult individual residing

at the above address.

       2.      Defendant, WM HENDERSON PLUMBING, HEATING & COOLING, INC.

(hereinafter “Henderson”) is a business corporation organized by and operating under the laws of

the Commonwealth of Pennsylvania and having a headquarters at the above captioned address.

       3.      Defendant, HORIZON SERVICES, LLC (hereinafter “Horizon”) is a business

corporation organized by and operating under the laws of the Commonwealth of Pennsylvania

and having a headquarters at the above captioned address. Both Defendants are hereinafter

referred to as “Defendants.”
         Case 2:21-cv-04672-GEKP Document 1 Filed 10/25/21 Page 5 of 14




       4.       At all times material hereto, Defendants qualified as Plaintiff’s employer

pursuant to Title VII of the Civil Rights Act and as defined under Pennsylvania law.

       5.      This action is instituted pursuant to the United States Civil Rights Act and the

Pennsylvania Human Relations Act.

       6.      Jurisdiction is conferred by 28 U.S.C. §§ 1331 and 1343.

       7.      Supplemental jurisdiction over the Plaintiff’s state law claim is conferred pursuant

to 28 U.S.C. § 1367.

       8.      Plaintiff has exhausted his administrative remedies pursuant to the Equal

Employment Opportunity Act and the Pennsylvania Human Relations Act. (See Exhibit A, a

true and correct copy of a “right-to-sue” letter issued by the Equal Employment Opportunity

Commission.)

       9.      Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this

district because Defendants conduct business in this district, and because a substantial part of the

acts and/or omissions giving rise to the claims set forth herein occurred in this judicial district.

Plaintiff was working in the Eastern District of Pennsylvania at the time of the illegal actions by

Defendants as set forth herein.

II. Operative Facts.

       10.     Plaintiff is an African-American man.

       11.     On or about July 21, 2019, Defendants hired Plaintiff as an HVAC installer.

       12.     Plaintiff was hired by Defendant Horizon and assigned to work out of Defendant

Henderson’s Broomall, Pennsylvania location as captioned above.

       13.     At the time of his discharge, Plaintiff was one (1) of only two (2) African-

American employees assigned to Defendant Henderson’s location.
         Case 2:21-cv-04672-GEKP Document 1 Filed 10/25/21 Page 6 of 14




       14.     Plaintiff’s employment agreement guaranteed forty (40) hours of work per week,

in addition to a company truck and supplemental training.

       15.     Plaintiff was never provided the supplemental training, nor was he given a

company truck.

       16.     Upon information and belief, the other African-American employee hired

Defendants was also not provided a company truck.

       17.     Instead, Plaintiff and the other aforementioned employee were instructed to drive

their personal vehicles to the shop, and then utilize an available truck.

       18.     Plaintiff was additionally instructed to drive his personal vehicle to customers’

houses to provide services when no truck was available for use.

       19.     Plaintiff also observed Defendants hiring Caucasian employees who upon

information and belief had less experience than him, but were being provided company trucks.

       20.     Plaintiff also observed the other African-American co-worker not receiving any

training, and thus was only allowed to do commercial work (ie in warehouses or factories) and

was not allowed to perform residential services.

       21.     On or about December 4, 2019, Plaintiff became aware of an incident in which a

Caucasian employee tied a noose to the rearview mirror in his company truck prior to allowing

an African-American co-worker to utilize the truck.

       22.     Said employee reported the situation to Defendants; however, the African-

American employee was the one transferred to a different location, and upon information and

belief the Caucasian employee was not disciplined.

       23.     In late December 2019, Plaintiff notice that his hours had been severely restricted

from forty (40) per week down to approximately ten (10) hours per week.
        Case 2:21-cv-04672-GEKP Document 1 Filed 10/25/21 Page 7 of 14




       24.     Defendants indicated that “everyone’s hours were being cut” due to “cold and flu

season,” however, Plaintiff observed that only his and one other employee’s hours were cut.

       25.     Plaintiff contacted Defendant Horizon’s Human Resources Department to make a

complaint regarding not only his reduced hours which was in violation of his contract, but also

the lack of training and Defendant Henderson’s refusal to provide a company truck.

       26.     Upon information and belief, Defendant Horizon was able to reinstate Plaintiff’s

hours; however, Plaintiff was then approached by Defendant Henderson’s managers Mike

Henderson and Chrissy who told Plaintiff not to contact Horizon, but to come to them instead.

       27.     Plaintiff responded that at the time he was hired by Defendant Horizon, he was

instructed to contact his recruiter with Horizon with any problems.

       28.     In March of 2020, Plaintiff’s hours were again cut, and he was only being

scheduled approximately one (1) day per week.

       29.     Defendants indicated that this was due to the Covid-19 pandemic and that there

was no work available.

       30.     In April of 2020, Plaintiff became aware that Defendants’ other employees were

being scheduled for approximately sixty (60) hours per week, while Plaintiff was still being told

there was no work available for him.

       31.     Plaintiff received an email from Defendants that his yearly evaluation had been

cancelled.

       32.     In June of 2020, Plaintiff received a company-wide text stating that Defendant

Henderson was looking to hire for Plaintiff’s same position due to “high volume of work”.

       33.     Plaintiff last performed work for Defendants on or about April 20, 2020.
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         34.   To date, Plaintiff has not been contacted or scheduled for any work, nor has he

been provided a termination letter.

         35.   Defendants’ motivation in constructively terminating Plaintiff’s employment was

his race and his complaints of racial discrimination.

         36.    As a direct and proximate result of Defendants’ conduct in terminating Plaintiff,

he sustained great economic loss, future lost earning capacity, lost opportunity, loss of future

wages, as well emotional distress, humiliation, pain and suffering and other damages as set forth

below.

III. Causes of Action.

                                         COUNT I
                             TITLE VII CLAIM--RETALIATION
                                 (42 U.S.C.A. § 2000e-3(a))

         37.   Plaintiff incorporates paragraphs 1-36 as if fully set forth at length herein.

         38.   At set forth above, Plaintiff, made complaints to Defendants concerning racially

motivated disparate treatment and conduct that was being directed towards him.

         39.   In retaliation for making these complaints, Defendants took adverse action against

Plaintiff by constructively terminating his employment.

         40.   Plaintiff’s participation in protected activity under Title VII was a motivating

factor in Defendants’ decision to terminate his employment.

         41.   As such, Defendants’ decision to constructively terminate Plaintiff’s employment

is a retaliatory action contemplated by Civil Rights Act of 1964, § 704(a).

         42.   As a proximate result of Defendants’ conduct, Plaintiff sustained significant

damages, including but not limited to: great economic loss, future lost earning capacity, lost

opportunity, loss of future wages, loss of front pay, loss of back pay, as well as emotional
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distress, humiliation, pain and suffering, consequential damages and Plaintiff also sustained work

loss, loss of opportunity, and a permanent diminution of earning power and capacity and a claim

is made therefore.

       43.     As a result of the conduct of Defendants’ owners/management, Plaintiff hereby

demands punitive damages.

       44.     Pursuant to the Civil Rights Act of 1964, § 704(a), 42 U.S.C. §2000e-3(a), et seq

Plaintiff demands attorneys fees and court costs.

                     COUNT II – EMPLOYMENT DISCRIMINATION
                               (42 U.S.C.A. § 2000e-2(a))

       45.     Plaintiff incorporates paragraphs 1-44 as if fully set forth at length herein.

       46.     Defendants took adverse action against Plaintiff by constructively terminating his

employment.

       47.     Plaintiff’s status as an African-American man places him in a protected class.

       48.     Plaintiff was subjected to a hostile work environment during his employment with

Defendants.

       49.     Plaintiff’s membership in a protected class was a motivating factor in Defendants’

decision to terminate his employment.

       50.     Plaintiff suffered disparate treatment by Defendants, as set forth above.

       51.     As such, Defendants’ decision to terminate Plaintiff’s employment is an unlawful

employment practice, under 42. U.S.C. § 2000e-2(a).

       52.     As a proximate result of Defendants’ conduct, Plaintiff sustained significant

damages, including but not limited to: great economic loss, future lost earning capacity, lost

opportunity, loss of future wages, loss of front pay, loss of back pay, as well as emotional

distress, humiliation, pain and suffering, consequential damages and Plaintiff has also sustained
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work loss, loss of opportunity, and a permanent diminution of earning power and capacity and a

claim is made therefore.

       53.     As a result of the conduct of Defendants’ owners/management, Plaintiff hereby

demands punitive damages.

       54.     Pursuant to the Civil Rights Act of 1964, 42 U.S.C. §2000e-2(a), et seq Plaintiff

demands attorneys fees and court costs.

                                    COUNT III
                       PENNSYLVANIA HUMAN RELATIONS ACT
                              43 Pa.C.S.A. §951, et seq.

       55.     Plaintiff incorporates paragraphs 1-54 as if fully set forth at length herein.

       56.     As set forth above, Plaintiff is a member of a protected class.

       57.     Defendants constructively terminated Plaintiff’s employment.

       58.     As set forth above, a motivating factor in the decision to terminate Plaintiff’s

employment was Plaintiff’s complaints regarding a pattern of racially discriminatory conduct on

the part of the employer.

       59.     Plaintiff’s membership in a protected class was a motivating factor in Defendants’

decision to terminate his employment.

       60.     Plaintiff suffered disparate treatment by Defendants, as set forth above.

       61.     Plaintiff was subjected to a hostile work environment, as described above.

       62.     As such, Defendants have violated the Pennsylvania Human Relations Act, 43

Pa.C.S.A. §951, et seq.

       63.     As a proximate result of Defendants’ conduct, Plaintiff sustained significant

damages, including but not limited to: great economic loss, future lost earning capacity, lost

opportunity, loss of future wages, loss of front pay, loss of back pay, as well as emotional
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distress, humiliation, pain and suffering, consequential damages and Plaintiff has also sustained

work loss, loss of opportunity, and a permanent diminution of earning power and capacity and a

claim is made therefore.

       64.      Plaintiff demands attorneys’ fees and court costs.

IV. Relief Requested.

       WHEREFORE, Plaintiff, CARTIER PRICE demands judgment in his favor and against

Defendant, WM HENDERSON PLUMBING, HEATING & COOLING, INC. and Defendant,

HORIZON SERVICES, LLC, in an amount in excess of $150,000.00 together with:

       A. Compensatory damages, including but not limited to: back pay, front pay, past lost

             wages, future lost wages. Lost pay increases, lost pay incentives, lost opportunity, lost

             benefits, lost future earning capacity, injury to reputation, mental and emotional

             distress, pain and suffering

       B. Punitive damages;

       C. Attorneys fees and costs of suit;

       D. Interest, delay damages; and,

       E. Any other further relief this Court deems just proper and equitable.

                                                     LAW OFFICES OF ERIC A. SHORE, P.C.

                                                    BY:___________________________________
                                                       GRAHAM F. BAIRD, ESQUIRE
                                                       Two Penn Center
                                                       1500 JFK Boulevard, Suite 1240
                                                       Philadelphia, PA 19102

                                                       Attorney for Plaintiff, Cartier Price
Date: 10/25/2021
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           EXH. A
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EEOC Form 161 (11/2020)                   U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                  DISMISSAL AND NOTICE OF RIGHTS
To:    Cartier Price                                                                   From:     Philadelphia District Office
       1872 Nolan Street                                                                         801 Market Street
       Philadelphia, PA 19138                                                                    Suite 1000
                                                                                                 Philadelphia, PA 19107


                             On behalf of person(s) aggrieved whose identity is
                             CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No.                                  EEOC Representative                                                    Telephone No.

                                                 Legal Unit,
530-2021-00138                                   Legal Technician                                                       (267) 589-9707
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
                 The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

                 Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

                 The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

                 Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
       X         The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
                 determination about whether further investigation would establish violations of the statute. This does not mean the claims
                 have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
                 makes no finding as to the merits of any other issues that might be construed as having been raised by this charge.
                 The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

                 Other (briefly state)

                                                          - NOTICE OF SUIT RIGHTS -
                                                    (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

                                                                      On behalf of the Commission




                                                                                                                      08/05/2021
Enclosures(s)
                                                                     Dana R. Hutter,                                            (Date Issued)
                                                                     Deputy Director
cc:
           Charlie Haines                                                             Graham F Baird, Esq,
           Chief Executive Officer                                                    1500 JFK Boulevard,
           HORIZON SERVICES, INC                                                      Suite 1240
           307 Ruthar Road                                                            Philadelphia, PA 19102
           Newark, DE 19711
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Enclosure with EEOC
Form 161 (11/2020)
                                             INFORMATION RELATED TO FILING SUIT
                                           UNDER THE LAWS ENFORCED BY THE EEOC
                               (This information relates to filing suit in Federal or State court under Federal law.
                      If you also plan to sue claiming violations of State law, please be aware that time limits and other
                             provisions of State law may be shorter or more limited than those described below.)


                                       Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE SUIT RIGHTS               --
                                       the Genetic Information Nondiscrimination Act (GINA), or the Age
                                       Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope or
record of receipt, and tell him or her the date you received it. Furthermore, in order to avoid any question that you
did not act in a timely manner, it is prudent that your suit be filed within 90 days of the date this Notice was
issued to you (as indicated where the Notice is signed) or the date of the postmark or record of receipt, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. If you have simple questions, you usually can get answers from the
office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

PRIVATE SUIT RIGHTS               --   Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 – not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION --                     Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                             --   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                  IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
